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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

 JASON HERSH,

        Plaintiff,                                             Case No. 0:19-cv-61187

 v.

 GLOBAL MANAGEMENT ACQUISITION
 FIRM INC.,

       Defendant.
 ________________________________________/

                                             COMPLAINT

        The Plaintiff, Jason Hersh (“Plaintiff”), hereby sues the Defendant, Global Management

 Acquisition Firm Inc. (“Defendant” or “Global Management”), and alleges:

                                     Parties, Jurisdiction and Venue

        1.      Plaintiff is an individual and a resident of Broward County, Florida.

        2.      Defendant is a Georgia corporation with its principal place of business in

 Grayson, GA.

        3.      Defendant uses multiple instrumentalities of interstate commerce, including

 interstate telephone lines and the internet, and the mails, in a business the principal purpose of

 which is the collection of debts.

        4.      This is an action brought pursuant to 47 U.S.C. § 227 and 15 U.S.C. 1692k.

 Accordingly, this Court has jurisdiction over this action under 28 U.S.C. § 1331 because this is a

 civil action arising under the laws of the United States.

        5.      This Court has supplemental jurisdiction over the state law claim in this action

 under 28 U.S.C. § 1367 because the state law claim is so related to the claims over which this
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 Court has original jurisdiction that they form part of the same case or controversy under Article

 III of the U.S. Constitution.

         6.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

 substantial part of the events or omissions giving rise to the claims asserted herein occurred in

 this district.

         7.       All conditions precedent to bringing this action have occurred, been performed, or

 have been waived.

                                         Factual Allegations

         8.       Defendant was engaged to collect an alleged debt (the “Alleged Debt”) from

 Plaintiff that was allegedly incurred for personal and household purposes.

         9.       In attempting to collect the Alleged Debt, Defendant has made numerous

 telephone calls to Plaintiff’s cell phone using an artificial and prerecorded voice. Plaintiff never

 gave consent for Defendant to call the Plaintiff using artificial or prerecorded voice or in any

 other manner.

         10.      Additionally, the Alleged Debt that Defendant is attempting to collect from

 Plaintiff is an alleged credit card debt that is more than ten years old. During a phone call with

 Defendant, Plaintiff told Defendant that the debt was past the statute of limitations. Defendant’s

 representative stated that, “It does not matter if the statute of limitations has passed.” Defendant

 also said that it was going to file a lawsuit against the home of Plaintiff’s mother and take the

 home if Plaintiff did not pay the debt.       Defendant’s representative also told Plaintiff that

 Defendant was “going to step on the house.”

         11.      In another call, Defendant’s representative claimed that there was a lawsuit

 pending against Plaintiff, even though no lawsuit has been filed against Plaintiff.


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           12.   In another call, Defendant claimed that Plaintiff’s “case was being referred to

 Broward County,” thereby implying that law enforcement would be taking action against

 Plaintiff.

           13.   Defendant directed the above-described phone calls to Plaintiff in the Southern

 District of Florida, and Plaintiff received the calls in the Southern District of Florida.

   COUNT I – VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

           14.   Plaintiff incorporates and realleges paragraphs 1 through 13 as if stated fully

 herein.

           15.   Defendant called Plaintiff’s cellular telephone using an artificial and prerecorded

 voice without Plaintiff’s prior express consent.

           16.   The conduct of Defendant constituted multiple violations of 47 U.S.C. §

 227(b)(1)(A)(iii).

           17.   Because Defendant knows that Plaintiff never gave consent for Defendant to

 contact him, and Defendant knowing called Plaintiff using artificial and prerecorded voice

 without such consent, Defendant’s violations of the TCPA were knowing and willful.

           18.   As a direct and proximate result of the wrongful conduct of Defendant, Plaintiff

 has suffered actual damages, including mental anguish, embarrassment, loss of time, and

 financial harm.

           WHEREFORE, the Plaintiff, Jason Hersh, hereby demands judgment against the

 Defendant, Global Management Acquisition Firm Inc., for actual damages, statutory damages in

 the amount of $1,500.00 for each violation of the TCPA, court costs, injunctive relief, and any

 other further relief this Court deems just and proper.




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    COUNT II – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

           19.   Plaintiff incorporates and realleges paragraphs 1 through 13 as if stated fully

 herein.

           20.   The conduct of Defendant constituted violations of 15 U.S.C. § 1692d, 15 U.S.C.

 § 1692e and 15 U.S.C. § 1692f.

           21.   As a direct and proximate result of the wrongful conduct of Defendant, Plaintiff

 has suffered actual damages, including mental anguish, embarrassment, loss of time, and

 financial harm.

           WHEREFORE, the Plaintiff, Jason Hersh, hereby demands judgment against the

 Defendant, Global Management Acquisition Firm Inc., for actual damages, statutory damages in

 the amount of $1,000.00, court costs, reasonable attorney’s fees, injunctive relief, and any other

 further relief this Court deems just and proper.

                           COUNT III – VIOLATION OF THE
                   FLORIDA CONSUMER COLLECTION PRACTICES ACT

           22.   Plaintiff incorporates and realleges paragraphs 1 through 13 as if stated fully

 herein.

           23.   The conduct of Defendant constituted violations of Section 559.72, Florida

 Statutes.

           24.   As a direct and proximate result of the wrongful conduct of Defendant, Plaintiff

 has suffered actual damages, including mental anguish, embarrassment, loss of time, and

 financial harm.

           WHEREFORE, the Plaintiff, Jason Hersh, hereby demands judgment against the

 Defendant, Global Management Acquisition Firm Inc., for actual damages, statutory damages in



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 the amount of $1,000.00, court costs, injunctive relief, and any other further relief this Court

 deems just and proper.

                                Demand for Attorney’s Fees & Costs

        Pursuant to 15 U.S.C. § 1692k and Section 559.77(2), Florida Statutes, Plaintiff Jason

 Hersh hereby demands an award of the attorney’s fees and costs incurred in this matter.

                                       Demand for Jury Trial

        Plaintiff Jason Hersh hereby demands a jury trial on all claims asserted in this Complaint

 and otherwise later asserted in this lawsuit.

 DATED: May 9, 2019.                             Respectfully submitted,


                                                 /s/ Joshua A. Mize
                                                 Joshua A. Mize, Esq.
                                                 Florida Bar No. 86163
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                                                 Attorney for the Plaintiff,
                                                 Jason Hersh




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